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19                                UNITED STATES DISTRICT COURT

20                               NORTHERN DISTRICT OF CALIFORNIA
21                                     SAN FRANCISCO DIVISION
22
      FEDERAL TRADE COMMISSION,                      Case No. 3:23-cv-01710-AMO
23
                    Plaintiff,                       DEFENDANTS’ PROPOSED PRE-
24                                                   HEARING FINDINGS OF FACT AND
      vs.                                            CONCLUSIONS OF LAW
25
      INTERCONTINENTAL EXCHANGE, INC.                July 24, 2023, 9 a.m.
26    and BLACK KNIGHT, INC.,                        July 25, 2023, 9 a.m.
                                                     July 26, 2023, 9 a.m.
27                  Defendants.                      Judge: Hon. Araceli Martínez-Olguín

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                                                                        Case No. 3:23-cv-01710-AMO
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 1                                           INTRODUCTION

 2          This Court, having considered the evidence, including exhibits, direct testimony submitted

 3   by witness statements, and live testimony, as well as the briefing and arguments, concludes that the

 4   Federal Trade Commission (“FTC” or the “Commission”) has failed to demonstrate its probable

 5   success in showing that the proposed merger between Intercontinental Exchange, Inc. (“ICE”) and

 6   Black Knight, Inc. (“Black Knight”) is likely to substantially lessen competition. 15 U.S.C. § 18.

 7   Further, the balance of the equities and the public and private interests weigh against preliminarily

 8   enjoining the merger. Accordingly, the FTC’s Motion for a Preliminary Injunction is DENIED.

 9                                 PROPOSED FINDINGS OF FACT

10   I.     The Merging Parties and the Proposed Transaction

11          1.       Defendant ICE is a publicly traded corporation incorporated in Delaware. ICE’s

12   business model is to optimize market, data, and technology infrastructure across industries, largely

13   by automating outdated manual processes and developing common industry approaches and

14   standards. See, e.g., DX209 ¶¶2–4 [Sprecher]. ICE operates in three primary segments: exchanges,

15   fixed income and data services, and mortgage technology.

16          2.       Through its subsidiary ICE Mortgage Technology (“IMT”), ICE entered the

17   mortgage industry by a series of acquisitions in 2016, 2018, and 2020 of existing mortgage

18   technology providers, including Ellie Mae, a loan origination services platform connecting

19   mortgage lenders and loan investors. See, e.g., DX209 ¶¶8–18 [Sprecher]. ICE subsequently built

20   on these acquisitions to create new products benefiting lenders, borrowers, and other industry

21   participants. See DX209 ¶18 [Sprecher].

22          3.       ICE has been transforming the mortgage industry through the same modernization

23   it has successfully implemented in other areas, with the basic goal of streamlining the unnecessarily

24   cumbersome process of securing, closing, and servicing a mortgage—a process that ICE believes

25   takes longer than it should, costs more than it should, and disadvantages less sophisticated and low-

26   income customers. DX209 ¶8 [Sprecher]; DX211 ¶¶15–20 [Bowler].

27          4.       ICE currently owns a loan origination service platform (“LOS”) called Encompass.

28   DX212 ¶7 [Hart]. Encompass is a platform for lenders that facilitates the mortgage origination


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 1   process when their customers (prospective homebuyers) want to apply for a mortgage. DX209 ¶16

 2   [Sprecher]; DX212 ¶7 [Hart]. Encompass uses an open architecture, which means it is integrated

 3   with hundreds of third-party companies that also provide various software products and

 4   applications to Encompass’s customers. DX212 ¶8 [Hart], DX213 ¶45 [Wade]. In addition,

 5   Encompass integrates with other products owned by ICE, and Encompass itself contains native

 6   features within the platform, including a basic product and pricing engine (“PPE”) called

 7   Encompass Product and Pricing Service, or “EPPS.” DX213 ¶12 [Wade]; DX212 ¶18 [Hart]. ICE

 8   does not have a loan servicing product.

 9          5.       Defendant Black Knight provides a variety of software solutions, data, and analytics

10   to customers in the mortgage and real estate industries, including software platforms and products

11   used to manage loan servicing and origination. Black Knight’s flagship product is its Mortgage

12   Servicing Platform (“MSP”), a system to manage transactions, reports, and information related to

13   post-closing mortgage servicing. DX215 ¶7 [Larsen]. Black Knight also has an LOS called

14   Empower, which includes its own native PPE tool (“Empower PPE”). DX214 ¶10 [Gagliano].

15   Black Knight offers a separate, standalone PPE called “Optimal Blue,” which is commercially

16   available to users of many LOSs. DX416 ¶11 [McMahon].

17          6.       On May 4, 2022, ICE agreed to acquire Black Knight

18

19          7.       The planned merger was reported to the FTC, as required under the Hart-Scott-

20   Rodino Antitrust Improvements Act (“HSR Act”), on May 18, 2022. Shortly after the merger was

21   announced, the FTC commenced a nearly year-long investigation, in which Defendants produced

22   over 6 million documents and attended numerous meetings with the FTC.

23          8.       The FTC expressed during the investigation that its primary concern with the

24   transaction as announced on May 4, 2022 was the potential anticompetitive effects flowing from

25   ICE owning Empower in addition to its own Encompass LOS. DX215 ¶10 [Larsen]. That is

26   consistent with how the FTC’s complaint is pled.

27          9.       ICE and Black Knight took the questions expressed by the FTC seriously. In

28   response to what the FTC identified as its primary concern (consolidation of LOS products), ICE

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 1   and Black Knight agreed to divest from the proposed transaction the Black Knight Empower LOS

 2   business. See, e.g., DX215 ¶¶10–12 [Larsen].

 3           10.      On March 7, 2023, ICE and Black Knight agreed to sell Empower to Constellation

 4   Software, Inc. (“Constellation”), a highly qualified, well-capitalized third-party experienced in

 5   software, including in mortgage, real estate, and financial services markets. See DX215 ¶19

 6   [Larsen] (citing DX28); DX216 ¶¶6–9, 11–16, 31–32 [Wilhelm]. Specifically, Black Knight will

 7   sell to Constellation the assets that are

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11                                                                                                  . See

12   infra ¶72.

13           11.

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15                                                                                               DX217

16   ¶12 [Clifton]. This is the transaction set to close by November 4, 2023. DX209 ¶28 [Sprecher];

17   DX55.

18           12.      On March 9, 2023, the FTC filed an administrative complaint challenging the

19   merger, alleging that it violates Section 7 of the Clayton Act, 15 U.S.C. § 18. To date, Defendants

20   collectively produced more than 6.5 million documents from more than 120 custodians, had

21   Defendants’ witnesses sit for 10 investigational hearings and 24 depositions (some witnesses sitting

22   twice), and provided five presentations to the FTC. See, e.g., DX670–DX 671; DX672–DX676;

23   DX677–DX681; DX72-005 (presentation to FTC outlining transaction rationale).

24           13.      On April 10, 2023, the FTC filed this action, seeking a temporary restraining order

25   and preliminary injunction barring the acquisition pending a trial before a hearing, decision, and

26   appeal of the FTC’s administrative complaint. ECF 1.

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 1   II.     The Transaction Rationale

 2           14.       A robust understanding of the trajectory of the mortgage software industry is

 3   essential to assess the competitive effects of the proposed merger. See, e.g., DX411-019–20

 4   [Horizontal Merger Guidelines] § 5.2. The Supreme Court has directed that “only examination of

 5   the particular market—its structure, history, and probable future—can provide the appropriate

 6   setting for judging the probable anticompetitive effects of the merger.” United States v. Gen.

 7   Dynamics Corp., 415 U.S. 486, 498 (1974) (citing Brown Shoe Co. v. United States, 370 U.S. 294,

 8   322 (1962)); see also United States v. Baker Hughes, Inc., 908 F.2d 981, 989–92 (D.C. Cir. 1990)

 9   (noting the Supreme Court’s shift away from presumptions and structural analysis to focus on real-

10   world facts and economic analysis). This effort is fact intensive as well as forward looking.

11   “Antitrust theory and speculation cannot trump facts, and even Section 13(b) cases must be resolved

12   on the basis of the record evidence relating to the market and its probable future.” FTC v. Arch

13   Coal, Inc. 329 F. Supp. 2d 109, 116–17 (D.D.C. 2004).

14           A. This Merger Will Connect Disparate Parts of the Mortgage Business

15           15.       In today’s multi-billion-dollar residential mortgage market, lenders ferry borrowers

16   and loans through a series of disconnected steps—application, qualification, eligibility, pricing,

17   origination, hedging, closing, secondary market trading, and servicing—often on numerous

18   incompatible technology systems, which increases the chances for error and the costs to Americans

19   looking to buy a home.

20           16.       Costs associated with closing a mortgage transaction today are significant: it costs

21   approximately $6,000 to $9,000 for a lender to originate a mortgage, regardless of the loan size,

22   with most of the cost being passed on to the home buyer. DX209 ¶13 [Sprecher]. That means that

23   a person taking out a $100,000 loan pays the same origination costs as a person with a $1,000,000

24   loan, id., and these transaction costs can make refinancing a loan prohibitive, even when interest

25   rates fall.

26           17.       When technology systems do not communicate with each other, borrowers are not

27   notified when they would qualify for savings. For example, extra costs like private mortgage

28

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 1   insurance (for borrowers with less than a 20% down payment) can follow a borrower for years

 2   unnoticed, even when the homeowner has met the minimums for removal. DX209 ¶24 [Sprecher].

 3          18.     ICE sees a solution to reduce those costs and inefficiencies: an end-to-end loan

 4   platform that will eliminate communication errors among systems, reduce the costs of moving loans

 5   through their lifecycle, and, critically, provide borrowers with ongoing monitoring and options

 6   (e.g., refinancing or removal of mortgage interest) that will save them money. See DX209 ¶¶20–22

 7   [Sprecher]; DX220-09. ICE is committed to open systems like this, which allow for “data

 8   standardization” so that the mortgage industry’s digital products can communicate with one another

 9   using common standards. DX209 ¶12 [Sprecher]. This is a commitment that ICE has carried out

10   consistently across its other main industries of focus. Id.

11          19.     A principal purpose of the proposed transaction is ICE’s desire to connect its

12   Encompass LOS origination platform with Black Knight’s MSP loan servicing platform to create

13   a “life-of-loan” platform. DX209 ¶¶20–21 [Sprecher]; DX220-009. By linking data between the

14   two systems, ICE expects to bring widespread benefits to U.S. mortgage customers. DX209 ¶20

15   [Sprecher]. For example, a linked system would allow lenders to more efficiently recognize when

16   a borrower is eligible to refinance on a loan and streamline the process to do so. DX209 ¶24

17   [Sprecher]. ICE considered multiple options for developing this end-to-end platform, and

18   ultimately determined that the most viable and efficient means to reach that goal was through an

19   acquisition, specifically of Black Knight and MSP. DX 217 ¶18 [Clifton].

20          B. LOS Platforms Help Turn Loan Applications into Closed Mortgages
21          20.     An LOS is a platform that automates residential loan processing, replacing older

22   manual and paper processes and acting as a system of record that lenders and brokers use to

23   originate new home loans for home buyers. It brings together lenders or brokers with other service

24   providers, industry participants, and investors to provide services that complement the origination

25   process. See, e.g., DX214 ¶¶5–6 [Gagliano]; DX412 ¶21 [Wester].

26          21.     ICE’s LOS platform is called Encompass. DX212 ¶7 [Hart] Black Knight’s is called

27   Empower. Both are commercial LOS platforms, meaning that they are available for purchase and

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 1   use by any lending institutions. See, e.g., DX214 ¶5 [Gagliano]. Under the proposed transaction,

 2   Black Knight’s Empower LOS will be acquired by Constellation. It will not be owned by ICE.

 3            22.      Encompass and Empower are by no means the only LOS providers. See DX212

 4   ¶¶23–24 [Hart] (listing more than 50 LOS vendors). There is robust competition in the LOS market

 5   as lenders can and do switch among LOS providers depending on their needs. See, e.g.,

 6                  at 8:23–9:08, 9:13–18, 10:03–11:07 (

 7

 8        ); DX212 ¶26 [Hart] (discussing how Encompass won and lost opportunities and how ICE

 9   currently is engaging with an Encompass customer who is considering changing to Blue Sage

10   LOS).

11            23.      Revenue models vary, but an LOS typically charges its lender or broker customers

12   subscription-based and/or transaction-based fees (e.g., a price per loan closed). See, e.g.,

13                  at 10:03–11:07. LOSs can include certain features at no additional cost or charge

14   additional fees for optional and supplemental features. LOSs may also charge fees to ancillary

15   service providers.

16            24.      There are generally four types of LOS options for lenders with different levels of

17   sophistication: (1) proprietary, i.e., developed in-house; (2) custom, i.e., developed by a commercial

18   provider to meet specific requirements of a particular lender; (3) configurable, i.e., a commercial

19   product that allows the lender to change aspects of the workflow; and (4) broker, i.e., a basic system

20   focused only on the initial loan application and not the full origination. DX210 ¶7 [Tyrrell]. ICE’s

21   Encompass competes in the “configurable” LOS category. Id. ¶4. Other configurable LOS systems

22   include Mortgage Cadence, Mortgage Builder, Lending QB, and a number of other providers.

23   DX210 ¶8 [Tyrrell].

24            25.      Encompass’s primary customer focus is on lending institutions, which can be

25   brokers, banks, and independent mortgage banks. DX212 ¶3 [Hart]. Encompass has an estimated

26           customers. DX212 ¶10 [Hart].

27            26.      Encompass is an open network, meaning that third parties can develop their own

28   mortgage-related products and make them available for sale to ICE customers on Encompass

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 1   through integration. DX212 ¶¶28–29 [Hart]. Third-party providers include providers of mortgage

 2   insurance, point of sale technology, PPEs, marketing software, secondary platforms, and other

 3   customer or investor software. DX213 ¶45 [Wade]. This open network platform benefits ICE,

 4   lenders, and third-party providers by enabling ICE to retain Encompass customers even when those

 5   customers may prefer to use the ancillary services of a non-ICE provider. DX213 ¶47 [Wade];

 6   DX212 ¶11 [Hart].

 7             27.   ICE customers can pick and choose the third-party providers they want, and these

 8   customers are never disadvantaged if they choose to use a third-party’s ancillary service within

 9   Encompass instead of ICE’s own similar ancillary service. DX213 ¶49 [Wade]; see also DX212

10   ¶¶11–13 [Hart]. ICE takes a “neutral” position when it comes to which mortgage products

11   Encompass customers choose to use (even when ICE has its own competing product available) and

12   does not endorse one integrated partner product over another. DX212 ¶30 [Hart]; see also

13             at 111:20–112:11 (

14                                                                                                       );

15                      at 154:22–155:16. Instead, ICE created a “Partner Success” program that

16   categorizes third-party vendors based on whether they offer certain features (can demo their

17   integration with a user guide, have customer support, etc.) and use best practices. DX212 ¶31

18   [Hart].

19             C. Lenders Use PPEs to Collect Market Pricing Data for Potential Loans
20             28.   Pricing a loan for a customer historically was a manual, paper-driven process. That

21   changed with the introduction of automated PPE systems. PPEs enable lenders to aggregate loan

22   products and prices offered by investors into electronic “rate sheets,” search those rate sheets,

23   generate different loan pricing scenarios based on a borrower’s credit history and other factors, and

24   lock in a rate for a specific period of time. DX414 ¶6 [Batt]. Thus, a PPE must at a baseline allow

25   a lender to determine a price it can offer for a loan based on the characteristics of the borrower and

26   lock in that price so that the lender can finalize the mortgage process. DX412 ¶9 [Wester].

27             29.   There is a wide variety of PPEs available to lenders, depending on their business

28   needs and requirements. DX213 ¶10 [Wade], see also DX415 ¶9 [Happ];                                 at

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 1   124:14–124:24, 125:01–06. Features among PPEs vary greatly from mere basic reporting of prices

 2   for certain products only, to sophisticated functionality that might include the ability to

 3   automatically lock a rate and see a wide variety of loan products and investors. DX415 ¶9 [Happ].

 4   As with LOS software, PPEs can be developed as proprietary to a lender, but many PPEs are

 5   commercially available. A lender can choose from use a variety of different PPE solutions

 6   depending on the size, complexity, and nature of their business. DX414 ¶7 [Batt]. And some lenders

 7   (primarily smaller lenders) do not use a PPE at all, and instead use spreadsheets and other manual

 8   processes. DX489 ¶86 [Dick].

 9          30.     Among commercial PPEs—that is, PPEs developed for use by third-party

10   customers—there are both “native” and “standalone” options. See DX412 ¶10 [Wester]. Native

11   PPEs are built directly into a LOS, tend to only offer rudimentary price retrieval, and do not have

12   access to a full set of investors and portfolio products. DX415 ¶32 [Happ]; DX416 ¶¶10–11

13   [McMahon]. They lack post-lock functionality to automatically alter loan terms post-lock and pre-

14   close. DX415 ¶32 [Happ]. They are typically packaged as “free” components of the LOS, cannot

15   be purchased separately from a specific LOS, cannot be used on other LOS platforms, and generally

16   are not billed separately. Id. ¶34; see also               at 78:08–78:25 (

17                                                        );               at 36:2–15.

18          31.     Standalone commercial PPEs are sold independently and can be integrated with any

19   LOS or other third-party mortgage technology, making them a viable option for a much larger

20   percentage of the mortgage lending market. See DX 414 ¶14 [Batt]; DX415 ¶¶36–37 [Happ].

21          32.     ICE’s EPPS is a native-only feature of the Encompass LOS. DX213 ¶12 [Wade].

22   Customers can only use EPPS on Encompass—it is not available on any other LOS. DX212 ¶18

23   [Hart]. EPPS provides only the most basic functionality of collecting and displaying mortgage rate

24   terms available from a small number of certain investors, loan lock requests, and integration with

25   Encompass. DX210 ¶21 [Tyrrell]; DX213 ¶12 [Wade]; see also DX415 ¶¶32–33 [Happ].

26   Accordingly, only a small fraction (     ) of Encompass customers use the integrated EPPS because

27   of its limited functionality, and the vast majority of Encompass LOS customers choose to use an

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 1   mortgage market. DX412 ¶¶21–23 [Wester]. Some key functional abilities of Optimal Blue’s PPE

 2   that are not available on EPPS include: • post-lock automation, • dynamic markups with custom

 3   margins, • instantly-available historical pricing, • pricing concession approvals, and • custom

 4   fields. See, e.g., DX414 ¶19 [Batt] (citing DX509-008); DX416 ¶6 [McMahon]; DX412 ¶¶12–19,

 5   22 [Wester]. Optimal Blue’s PPE also connects nearly        lenders or originators with more than

 6       investors. DX412 ¶¶9, 19 [Wester]; DX416 ¶7 [McMahon]. These stand out features make

 7   Optimal Blue’s PPE a “premium product,” DX415 ¶19 [Happ], and Black Knight emphasizes them

 8   in its marketing materials and in sales meetings with customers. DX414 ¶22 [Batt].

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17           39.   Optimal Blue does not have the only standalone, feature-rich PPE on the market.

18   DX412 ¶25 [Wester]. Polly is a newer entrant in the market and a key competitor of the Optimal

19   Blue PPE, along with Lender Price and Mortech. DX412 ¶25 [Wester]; DX 415 ¶39 [Happ]; DX416

20   ¶¶10, 22–25 [McMahon]. Each of these companies offer PPE solutions that have specialty features

21   to compete with Optimal Blue’s PPE, like dynamic margin management, post-lock automation,

22   margin management, and sophisticated reporting and analytics tools. DX415 ¶41 [Happ]; DX416

23   ¶9 [McMahon];                       at 12:12–13:20 (

24      ).

25           40.                                                                          DX412 ¶28

26   [Wester]; DX 415 ¶¶39, 43–47 [Happ]; see also DX416 ¶22 [McMahon]. Polly boasts of features

27   that are similar to those offered by Optimal Blue’s PPE. DX213 ¶13 [Wade]. Polly touts its user

28   interface as advanced yet approachable and user-friendly,

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 1                               . DX412 ¶29 [Wester]; DX416 ¶24 [McMahon]. Polly’s features have

 2   been developed, and its customer base expanded, in recent years

 3                                           . DX412 ¶13 [Wade]; see also DX415 ¶47 [Happ]. Polly

 4   is available on the Encompass LOS. DX212 ¶40 [Hart].

 5            41.

 6                                  . See, e.g., DX43 44:1–5, 45:7–46:2, 78:22–81:22; DX412 ¶30

 7   [Wester]; DX415 ¶¶48–56 [Happ]; DX416 ¶40 [McMahon]. Polly’s marketing efforts have

 8   targeted Optimal Blue’s client base alleging superior functionality and lower cost, and

 9

10                               DX416 ¶¶26–33, 47–57 [McMahon]; see also                      128:19–

11   129:24 (                                                                                  ).

12            42.   Mortech, Zillow’s PPE, has been a PPE competitor to Optimal Blue’s PPE for many

13   years. DX213 ¶14 [Wade]. Mortech services mid-sized and large lenders such as Rocket Mortgage,

14   Guaranteed Rate, and Hunt Mortgage. Id. Mortech offers a suite of add-ons that compete with

15   Optimal Blue, including a               lead quoting tool. Id. Mortech also offers an integration

16   with Lending Tree that allows lenders to display their rates on Lending Tree’s website. DX213 ¶14

17   [Wade]; DX412 ¶26 [Wester].

18            43.   Lender Price, another PPE,

19                                                    . DX213 ¶15 [Wade]. It already boasts over

20   PPE customers and integrations with several LOS platforms. DX412 ¶26 [Wester].

21

22                                                                                        DX416 ¶38

23   [McMahon] (citing DX454-002); see also                      at 18:01–18:19, 20:08–09 (

24

25                       );                at 76:18–77:19 (

26       ).

27            44.

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10           45.    The differences in functions among PPE options lead to significantly different

11   pricing. Optimal Blue’s PPE is                more expensive than EPPS. Optimal Blue’s PPE is

12   between        and         more expensive than EPPS on a per user basis, and between        and

13          more expensive than EPPS on a per loan closed basis. See, e.g., DX462 ¶¶19(c), 136–38.

14           46.    EPPS and Optimal Blue have not been and are not close substitutes. DX212 ¶19

15   [Hart]; DX489 ¶143 [Dick].

16

17                                    at 36:24–38:25; see also                 at 82:02–82:18;

18             at 33:18–34:10

19                                                                                 at 125:23–126:20,

20   138:21–139:03.

21           47.

22

23                                                                  DX462 ¶163 [Dick]; DX213 ¶22

24   [Wade]; DX212 ¶20 [Hart] see, e.g.,                         at 27:10–28:05, 29:08–30:07, 30:14–

25   31:07, 32:11–32:13 (

26                                                                        );                at 14:08–

27   17 (

28                                         ).

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 2                                                                   DX414 ¶28 [Batt] (citing DX501).

 3

 4   DX213 ¶22 [Wade]; DX 414 ¶¶28–33 [Batt] (citing DX502,

 5                                                    ).

 6           D. After Closing, LSPs Connect Lenders and Borrowers for Servicing Activities
 7           48.      A Loan Servicing Platform (“LSP”) automates the loan-servicing process that takes

 8   place after a mortgage is issued: typically including initial setup, customer service, payment

 9   processing, escrow administration, and default management. See, e.g., DX215 ¶¶7–8 [Larsen];

10   DX219 ¶27 [Katz]. Among other functions, an LSP helps lenders and servicers manage the process

11   of ensuring that a borrower’s monthly loan payments are made and manages the proceeds, which

12   are often distributed to multiple parties. Id.

13           49.      LSPs are multitasked platforms. DX219 ¶27 [Katz]. An LSP brings together

14   mortgage servicers, investors, and other service providers (often including federal housing

15   regulators and government-sponsored entities). Id.

16           50.      An LSP typically charges its lender or servicer customers subscription-based and/or

17   transaction-based fees (e.g., price per loan serviced). Id. An LSP can include certain features at no

18   additional cost, or else charge additional fees for optional features. LSPs may also charge fees to

19   ancillary-service providers. Id.

20           51.      LSPs can be proprietary or commercial. Currently, Black Knight owns MSP, and

21   ICE does not own an LSP. See, e.g., DX215 ¶7 [Larsen]; DX210 ¶36 [Tyrrell]. Constellation owns

22   an LSP called Mortgage Builder LSS. Under the proposed transaction, ICE will acquire MSP.

23           52.      MSP is an industry-leading LSP platform

24                 DX215 ¶7 [Larsen]. Approximately               active loans are currently serviced on

25   MSP,                                                                          , and it has long been

26   considered the industry’s gold standard for servicing home loans. DX215 ¶8 [Larsen].

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 1   III.   The Empower Divestiture

 2          A. Black Knight and ICE Sought an Experienced and Well-Capitalized Technology
               Solutions Provider for Empower
 3
            53.     After the FTC raised questions with ICE acquiring Black Knight’s Empower LOS
 4
     business, ICE and Black Knight determined that divesting Empower would solve any potential
 5
     concern about competition among LOS providers, because then ICE would not be acquiring an
 6
     LOS.
 7
            54.     ICE and Black Knight determined that the divested assets would include the core
 8
     Empower LOS,
 9

10

11
              DX215 ¶12 [Larsen]; DX214 ¶16 [Gagliano].
12

13
                                                   . DX217 ¶31 [Clifton].
14
            55.     On January 1, 2023, ICE and Black Knight engaged        , an investment bank, to
15
     identify potential bidders for the Empower divestiture
16
                                              DX214 ¶36 [Gagliano]; DX217 ¶¶36–46 [Clifton]. The
17
     objective of the transaction was to find a buyer who was invested in the long-term, sustainable
18
     growth of the Empower business. DX418 [Hubbard] at 152:15–22.
19
            56.
20
21

22
              . DX217 ¶¶38–41 [Clifton]; DX418 [Hubbard] at 188:18–189:21, 209:24–210:8; see also
23
     DX33-002-03 (listing all potential buyers).
24
            57.
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 9   DX214 ¶¶38–39 [Gagliano].

10          DX217 ¶42 [Clifton] (citing DX203 and DX 202).

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 9         63.    Several buyers submitted proposals to acquire the Empower assets:

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19         B. Constellation Was the Winning Bidder
20         64.    On March 7, 2023, Constellation was announced as the winning bidder, and the

21   parties executed the Equity Purchase Agreement (“EPA”). DX28; DX214 ¶41 [Gagliano].

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24         65.    Constellation is a global, publicly-traded company, headquartered in Canada

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 3          C. The Deal Terms Ensure that Constellation Will Be Ready to Have Empower
               Continue to Compete
 4

 5          69.     The divestiture to Constellation consists of not only the Empower LOS platform and

 6   its native PPE, but also      additional software products that are integrated with Empower:

 7

 8

 9                                                                           . DX28-117; DX217 ¶55

10   [Clifton]; DX215 ¶20 [Larsen]; DX216 ¶19 [Wilhelm].

11

12

13                                                                DX217 ¶57 [Clifton]; DX216 ¶19

14   [Wilhelm]; DX215 ¶15 [Larsen]; DX214 ¶¶9, 24 [Gagliano].

15                                                                  DX214 ¶25 [Gagliano]; see also

16   DX215 ¶¶13–14 [Larsen]; DX216 ¶20 [Wilhelm].

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14   See DX214 ¶27 [Gagliano]; DX216 ¶36 [Wilhelm]. As a result, the CSA effectively has a total

15   term of 12 years. Id.

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17                            DX216 ¶34 [Wilhelm]; see also DX444 [George] at 144:13–145:25.

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 9                                                      DX216 [Wilhelm] (citing DX28 at ¶¶4.1(b),

10   11.1(d), 12.1); id. at 123–27 (                                   ).

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12                                                                                        DX214

13   [Gagliano ¶46, citing DX28 §§ 8.2, 8.3].

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 3   IV.    Industry Outlook
 4          A. Competition for LOSs Will Not Decrease Due to the Merger
 5          77.     After the transaction involving ICE, Black Knight, and Constellation, there is not

 6   likely to be a substantial lessening of horizontal competition in the provision of either all LOSs, or

 7   commercial LOSs. See DX462 ¶¶86–110 [Dick]. That is because the FTC’s concerns about ICE

 8   acquiring an additional LOS will not be realized. ICE’s competitive position in LOSs will not

 9   change. See id. ¶¶12, 58–85. Mortgage lenders in every size class will continue to have access to

10   many different providers of LOS after the transaction. See id. ¶¶16, 86. The only change in the LOS

11   market is that the ownership of the Empower LOS will transfer to Constellation as a result of the

12   acquisition.

13          78.     The transaction will not meaningfully increase concentration in either of the FTC’s

14   alleged markets for LOSs specified in the Complaint. ICE’s expert Andrew Dick performed a

15   Herfindahl Hirschman Index (“HHI”) analysis, and calculated that the transaction is associated with

16   a possible change in the HHI of only 3 to 15 points. Id. ¶¶13, 60–61. This is a de minimis change

17   that falls well short of the screening thresholds found in the FTC’s Horizontal Merger Guidelines.

18   Id. ¶62.

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27          80.     Existing Empower customers confirm that they do not see competitive harm from

28   Constellation’s ownership of Empower. See, e.g.,                       at 31:11–36:18 (

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 7          B. Competition for PPEs Will Not Decrease Due to the Merger
 8          81.        The transaction will also not cause a substantial lessening of horizontal competition

 9   in the provision of PPE systems, either overall or for customers who use ICE’s Encompass LOS.

10          82.        ICE has no plans to shut down EPPS after the merger. DX212 ¶¶21–22 [Hart];

11   DX213 ¶44 [Wade]; DX210 ¶¶43–45 [Tyrell]. Instead, ICE will offer Optimal Blue’s PPE and

12   EPPS as complimentary products available to users of Encompass. DX210 ¶¶43–45 [Tyrrell]. ICE

13   has been making that commitment to its customers ever since the transaction was announced. See

14   id.

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21          83.        ICE also has no plans to transition Encompass to a closed network and is committed

22   to keeping the platform open, allowing third-party PPE integration.

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25                      DX209 ¶12 [Sprecher]. This is how ICE has always run Encompass, and it has no

26   plans to remove or degrade any third-party partner’s access to Encompass. DX212 ¶¶14–16 [Hart];

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 5           85.

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 9           86.

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11                                                   Encompass users have ample choice for which PPE

12   provider they want to use, and can make that choice based on their own specific needs. See, e.g.,

13   id.; DX 462 ¶¶173–188 [Dick]. That will also be true post-transaction.

14           87.

15                                                                                               PPEs

16   benefit from having access to a broad set of LOSs, from being LOS-agnostic, and from providing

17   the same value regardless of the LOS. Id. Those are all features of Optimal Blue’s PPE, but not of

18   EPPS.

19           88.   ICE will not change EPPS into a full-featured PPE like Optimal Blue’s PPE,

20   regardless of whether the transaction closes.

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26           89.

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 4           C. The Merger Will Significantly Benefit Mortgage Consumers
 5           90.     The proposed transaction will result in substantial procompetitive benefits for U.S.

 6   consumers, including specific quality improvements, cost savings, increased access to residential

 7   mortgages, and more. See, e.g., DX220-009; DX209 ¶¶24–26 [Sprecher]. Consumers that will

 8   benefit include mortgage borrowers, existing and potential homeowners, and mortgage lenders,

 9   because the transaction will enable greater automation, integration of different systems, and product

10   improvements that will lower the costs of originating, selling, and servicing mortgages and improve

11   the quality of those services. Id. These tangible benefits will especially benefit the large number of

12   first-time, often cash-constrained, homebuyers and improve homeownership outcomes, particularly

13   in underserved communities.

14           91.     Reduce Closing Costs: ICE will be able to reduce closing costs by further

15   automating loan processing workflows, reducing data entry errors, shorten the closing timeframe,

16   and allow for greater human interaction by lenders to focus on helping a borrower find the right

17   mortgage product. DX211 ¶24 [Bowler]; DX539.

18           92.     Increase Access to Credit in Lower Wealth Communities: Integration with Black

19   Knight will aid ICE’s efforts to expand underwriting automation based on alternative qualification

20   criteria.
21

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26                                                   DX211 ¶25 [Bowler]; DX539.
27           93.     Expand Lending Capacity: ICE supports new and existing community focused
28   lenders by providing solutions with better workflow management and tools to on-board new

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 1   borrowers.

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 5                                                             DX211 ¶26 [Bowler]; DX539.

 6          94.     Increase Access to Refinancing in Underserved Communities: Integration with

 7   Black Knight’s MSP will allow ICE to build on its efforts to ensure that all borrowers are

 8   proactively informed of opportunities to refinance or to remove risk-based charges, like mortgage

 9   interest. Refinancing is a key way that homeowners can lower their monthly payments by taking

10   advantage of favorable changes in interest rates, and data from the loan servicing process is critical

11   to achieving this goal. ICE would be able to proactively notify borrowers of an opportunity to

12   refinance and provide them with a reliable estimate of the monthly savings they could achieve by

13   refinancing. DX211 ¶27 [Bowler]; DX539. And if closing costs decrease, the cost benefits of

14   refinancing will be even easier to achieve.

15          95.     Integrate and Automate Lending Processes: The merger will help ICE digitize

16   and streamline what remains a deeply analogue process and create an end-to-end homebuying and

17   mortgage lending solution. The result will be a mortgage process that is materially more efficient

18   for borrowers, lenders, and other stakeholders in the mortgage market and that ultimately decreases

19   costs and expands homeownership to more people than ever before. DX211 ¶28 [Bowler]; DX539.

20          96.     The merged firm will benefit from the combined knowledge of ICE and Black
21   Knight personnel.
22

23                                                            DX219 ¶¶11, 47 [Katz].
24          97.     ICE’s vision for MSP also includes implementing common standards to facilitate
25   deeper integration of MSP with other products, which will give rise to greater benefits for lenders,
26   servicing companies, borrowers, and other industry participants. DX219 ¶¶11, 33–45 [Katz].
27

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 1                             DX209 ¶22 [Sprecher]. The improvements associated with the greater

 2   integration of MSP with other products will reduce lenders’ costs, which will create incentives for

 3   lenders to lower their prices to borrowers. These improvements will also facilitate and incentivize

 4   the creation of new products and features. DX219 ¶¶46–49 [Katz].

 5          D. Enjoining the Merger Would Kill the Transaction and Prevent Industry
               Efficiencies
 6
            98.     For more than 20 years, no merger in which the FTC has first sought preliminary
 7
     injunctive relief in federal court has then been fully adjudicated in an FTC administrative trial.
 8
            99.     If the Court enjoins this merger, the final closing date will pass on November 4,
 9
     2023, and commercial imperatives will force the merging parties to terminate their merger
10
     agreement because they cannot wait until the administrative proceeding and subsequent appeals
11
     conclude. See FTC v. Occidental Petroleum Corp., No. 86-900, 1986 WL 952, at *13 (D.D.C.
12
     1986) (Because of the “glacial pace of an FTC administrative proceeding,” the FTC’s burden for
13
     injunctive relief is a heavy one as “[e]xperience seems to demonstrate that … the grant of a
14
     temporary injunction in a Government antitrust suit is likely to spell the doom of an agreed
15
     merger.”). The FTC administrative process ordinarily takes years to resolve. In the most recent
16
     example, In the Matter of Illumina, Inc. and Grail, Inc., 201 F.T.C. 0144 (2023), it took over 19
17
     months from the time of the administrative trial (August 24, 2021) to when the Commission issued
18
     its opinion (April 3, 2023). The matter is now on appeal with the Fifth Circuit. A similar timeline
19
     in this case would mean that final resolution would not occur before 2026. In any event, the ALJ
20
     presiding over the administrative trial already told the parties that he will not be in a position to
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     issue his ruling before the merger’s cliff date in November 2023—and that was before the
22
     administrative trial was continued until September 25, 2023.
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            100.
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15          E. The FTC Did Not Offer Credible Evidence of Customer Concerns Regarding
               Competition
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            103.   The record does not reflect customer concerns about either the proposed merger and
17
     divestiture plan or Constellation’s ownership of Empower.
18

19
            104.   The record also does not reflect that PPE customers view EPPS and Optimal Blue
20
     as substitutes or raise concerns about ICE attempting to eliminate EPPS. Rather, testimony and
21
     documentary record shows that customers do not view the products as interchangeable or have
22
     credible concerns that ICE would disadvantage PPEs on its platform. See supra ¶¶27, 33.
23
            105.   To the contrary, those who have criticized the deal are competitors (not customers)
24
     who had other motivations – including hoping they would be the subject of the proposed acquisition
25
     or who wanted to impede their competitors. See, e.g., DX212 ¶45 [Hart].
26
            106.
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 1                               PROPOSED CONCLUSIONS OF LAW

 2   I.     Legal Standards

 3          110.    Preliminary Injunction: The FTC seeks a preliminary injunction to block the

 4   merger under FTC Act § 13(b), which requires proof that an injunction would be in the “public

 5   interest.” 15 U.S.C. §53(b). The public interest standard involves a “weighing of the equities and a

 6   consideration of the Commission’s likelihood of success on the merits.” Arch Coal, 329 F. Supp.

 7   2d at 115; see also FTC v. Warner Commc’ns Inc., 742 F.2d 1156, 1159 – 60 (9th Cir. 1984) (per

 8   curiam). The government has the burden of proof in seeking the “extraordinary and drastic remedy”

 9   of “a preliminary injunction prior to a full trial on the merits.” FTC v. Exxon Corp., 636 F.2d 1336,

10   1343–44 (D.C. Cir. 1980).

11          111.    Likelihood of success on the merits: Section 13(b) requires the FTC to show a

12   “likelihood of ultimate success,” FTC v. Affordable Media, 179 F.3d 1228, 1233 (9th Cir. 1999),

13   i.e., “some chance of probable success on the merits,” FTC v. World Wide Factors, Ltd., 882 F.2d

14   344, 347 (9th Cir. 1989). In making that assessment, courts are “charged with exercising their

15   ‘independent judgment’ and evaluating the FTC’s case and evidence on the merits.” FTC v. Meta

16   Platforms Inc., 2022 WL 16637996, at *5 (N.D. Cal. Nov. 2, 2022) (citation omitted); see also FTC

17   v. Lab. Corp. of Am., 2011 WL 3100372, at *15 (C.D. Cal. Mar. 11, 2011) (“serious question”

18   standard does not eliminate “FTC’s need to demonstrate a likelihood of success on the merits.”).

19          112.    Equitable Balancing: Section 13(b) also requires the FTC to show, with evidence,

20   that a balancing of the equities favors preliminary injunctive relief. See Lab. Corp., 2011 WL

21   3100372, at *15, *21 (“[T]he FTC must present evidence and make an actual showing [that] the

22   equities favor enjoining the transaction.”). Equitable balancing under Section 13(b) mandates

23   consideration of both “public equities” and the “private interests of the parties.” Id. at *21–22.

24          113.    Clayton Act, Section 7: Section 7 prevents an acquisition where its effects “may be

25   substantially to lessen competition, or to tend to create a monopoly.” 15 U.S.C. § 18. “Section 7

26   deals in probabilities not ephemeral possibilities,” FTC v. Tenet Health Care Corp., 186 F.3d 1045,

27   1051 (8th Cir. 1999), and the “substantial” loss of competition required by Congress must therefore

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 1   be “sufficiently probable and imminent” for this standard to be met. United States v. Marine

 2   Bancorporation, Inc., 418 U.S. 602, 623 n.22 (1974).

 3          114.    It is well settled that “[t]he antitrust laws are not meant to realign competitors to

 4   assist certain competitors over others.” USAirways Grp., Inc. v. Brit. Airways PLC, 989 F. Supp.

 5   482, 489 (S.D.N.Y. 1997). Rather, “[a]ntitrust laws are designed to protect competition, not

 6   competitors.” Adaptive Power Sols., LLC v. Hughes Missile Sys. Co., 141 F.3d 947, 951 (9th Cir.

 7   1998) (emphasis added).

 8          115.    To determine the FTC’s likelihood of success on the merits in a Section 7 challenge,

 9   courts in this circuit apply the three-step burden-shifting framework established by the D.C. Circuit

10   in United States v. Baker Hughes, Inc., 908 F. 2d at 982–93.

11          116.    First, the FTC has the burden to define the appropriate product market and make a

12   prima facie showing of anticompetitive effects. Id. at 900 n.12 (D.C. Cir. 1990) (Section 7 requires

13   “a judgment whether the challenged acquisition is likely to hurt consumers”); see also United States

14   v. AT&T, Inc., 916 F.3d 1029, 1032 (D.C. Cir. 2019) (similar). When the parties have amended

15   their merger agreement to include a divestiture, “the new agreement” is what “the Court must

16   evaluate in deciding whether an injunction should be issued.” F.T.C. v. Libbey, Inc., 211 F. Supp.

17   2d 34, 46 (D.D.C. 2002); see also United States v. UnitedHealth Grp. Inc., No. 1:22-cv-0481, 2022

18   WL 4365867, at *10 n.5 (D.D.C. Sept. 21, 2022) (“[T]reating the acquisition and the divestiture as

19   separate transactions that must be analyzed in separate steps” would allow the government to carry

20   “its prima facie burden based on a fictional transaction and fictional market shares.”). Proving harm

21   to consumers entails showing that the “combined entities” could “exercise market power by raising

22   prices and restricting the availability of a product or service to customers.” FTC v. Foster, 2007

23   WL 1793441, at *51 (D.N.M. May 29, 2007). The “outer boundaries of a product market are

24   determined by the reasonable interchangeability of use or the cross-elasticity of demand between

25   the product itself and substitutes for it.” Brown Shoe, 370 U.S. at 325. Courts must “look at whether

26   two products can be used for the same purpose, and, if so, whether and to what extent purchasers

27   are willing to substitute one for the other.” United States v. H&R Block, Inc., 833 F. Supp. 2d 36,

28   51 (D.D.C. 2011) (citation omitted). The relevant market must also be defined with precision; the

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 1   government may neither combine distinct markets into a single market nor artificially subdivide a

 2   market into smaller slivers. See, e.g., Hicks v. PGA Tour, Inc., 897 F.3d 1109, 1120 – 21 (9th Cir.

 3   2018); FTC v. RAG-Stiftung, 436 F. Supp. 3d 278, 294–95 (D.D.C. 2020).

 4          117.    In making this showing, the FTC cannot “veer into the realm of ephemeral

 5   possibilities.” Meta, 2023 WL 2346238, at *28. Nor can the FTC rely on “assumptions and

 6   simplifications that are not supported by real-world” facts, Am. Booksellers Ass’n v. Barnes &

 7   Noble, Inc., 135 F. Supp. 2d 1031, 1041 (N.D. Cal. 2001), or ignore the “economic reality” of the

 8   markets at issue, Craftsmen Limousine, Inc. v. Ford Motor Co., 363 F.3d 761, 777 (8th Cir. 2004).

 9   Instead, taking that economic reality into account, the agency must prove a “reasonable probability

10   of anticompetitive effect.” Warner Commc’ns, 742 F.2d at 1160. Further, “antitrust theory and

11   speculation cannot trump facts, and even Section 13(b) cases must be resolved on the basis of the

12   record evidence relating to the market and its probable future.” Arch Coal, 329 F. Supp. 2d at 116–

13   17; see also Marine Bancorp., 418 U.S. at 622–23; Adaptive Power Sols., 141 F.3d at 952

14   (“Antitrust claims must make economic sense.”)

15          118.    If the FTC meets its initial burden, the burden shifts to the defendants to produce

16   evidence to rebut the FTC’s prima facie case. Id. The weight of the defendants’ burden varies with

17   the strength of the FTC’s prima facie case: “The more compelling the prima facie case, the more

18   evidence the defendant must produce to rebut it successfully.” Baker Hughes, 908 F.2d at 991. The

19   converse is equally true: a weak prima facie presumption requires less evidence to defeat it. See

20   Arch Coal, 329 F. Supp. 2d at 129 (“Certainly less of a showing is required from defendants to

21   rebut a less-than-compelling prima facie case.”) (citations omitted).

22          119.    Defendants can rebut any presumption that a merger will substantially lessen

23   competition in a variety of ways. For example, defendants can show that the FTC failed to properly

24   define the product market where it alleges harm, or that the market-share statistics “produce an

25   inaccurate account of the merger’s probable effects on competition in the relevant market.” Arch

26   Coal, 329 F. Supp. 2d at 116. Defendants can also rebut any presumption by showing strong

27   competition in a relevant market, excess capacity, marketing and sales methods, industry structure,

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 1   product differentiation, or the prospect of efficiencies from the merger. See Baker Hughes, 908

 2   F.2d at 985 (collecting cases).

 3          120.    After rebutting the FTC’s prima facie case, “the burden of producing additional

 4   evidence of anticompetitive effect shifts to the government, and merges with the ultimate burden

 5   of persuasion which remains with the government at all times.” Baker Hughes, 908 F.2d at 983.

 6          121.    Ultimately, the FTC bears the burden on “every element of [its] Section 7 challenge,

 7   and a failure of proof in any respect will mean the transaction should not be enjoined.” Arch Coal,

 8   329 F. Supp. 2d at 116.

 9   II.    The FTC Has Failed to Show That It Is Likely to Succeed on the Merits
10          A. The Merger Will Not Harm Competition in the Alleged LOS Markets
11          122.    ICE’s acquisition of Black Knight will not reduce the number of competitors in the

12   claimed LOS market because the divestiture of Empower to Constellation will ensure that the exact

13   same pre-transaction levels of competition for LOS services are maintained post-transaction.

14          123.    The FTC’s speculative concerns that Constellation’s Empower will be somehow

15   inferior to Black Knight’s Empower are without evidentiary support. The evidence shows that

16   Constellation is well-equipped to acquire the Black Knight Empower assets, continue their

17   operation, grow the business, and provide strong continued competition in the LOS market. See

18   supra ¶¶64–68. Constellation has a demonstrated record of success with divested assets, already

19   competes in the mortgage industry (including with an LOS), and has the resources and strategy to

20   compete in the marketplace. Constellation’s “wealth of experience is an important component” to

21   preserve LOS competition. RAG-Stiftung, 436 F. Supp. 3d at 305.

22          124.    The divestiture,

23                             , ensure that the Empower LOS under Constellation’s ownership will be

24   able to continue operation with all pertinent features and management in place going forward.

25          125.    The test is whether the “scope of the proposed divestiture” will allow the acquiring

26   party to “effectively run[] the [business].” RAG-Stiftung, 435 F. Supp. 3d at 305.

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 5          126.

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 7        Constellation will have everything “to run a standalone business,” which is more than enough

 8   to “preserve the competition that would have been lost through the merger.” RAG-Stiftung, 436

 9   F.3d at 305–06.

10

11          127.    The FTC speculates without evidence that Constellation’s Empower will be unable

12   to compete without Constellation also buying Optimal Blue. But the fact is that

13

14                         , and Empower customers also have the ability to use other third-party PPEs,

15   like Polly.

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21          128.    The FTC further speculates that Constellation will be an ineffective competitor

22   because of a risk of “conflicts” or “entanglements” arising from the parties’ agreement in the CSA,

23   under which ICE agreed to license certain additional products to Constellation

24          and provide technical support for an additional 12-year period. The FTC argues that ICE

25   “may” or “could” take bad faith actions with unidentified consequences to Constellation. Courts

26   have rejected similar arguments where there was “no reason to question” whether the divested

27   assets “will be an independent competitor,” despite the FTC’s argument that “it has ongoing

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 1   commercial relationships with [the merging companies] as a customer,” including leasing land from

 2   the acquirer. RAG-Stiftung, 436 F. Supp. 3d at 306.

 3          129.

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 7                                      The FTC cannot replace Constellation’s considered business

 8   judgment with the FTC’s unsupported preference for how Constellation might do business. The

 9   FTC has simply not offered anything more than vague predictions that ICE would renege on its

10   contractual requirements and take actions that could impede Constellation. That is not enough.

11          130.    Finally, the LOS market already sees rigorous competition from a large number of

12   LOS providers: for example, Blue Sage, Byte, Calyx, Finastra, Fiserv, Integra, Mortgage Cadence,

13   and Wirpo—each of which has won and continues to win business from lenders of every size. These

14   providers will be unaffected by the transaction.

15          B. The FTC’s Alleged PPE Markets Are Flawed
16          131.    Demonstrating a relevant product market “is a ‘necessary predicate’ to a successful

17   challenge under the Clayton Act and thus to establishing a likelihood of ultimate success for

18   preliminary injunction purposes.” California v. Sutter Health Sys., 84 F. Supp. 2d 1057, 1081 (N.D.

19   Cal. 2000). The FTC claims there will be anticompetitive effects (a) in a market for “PPEs for

20   Encompass Users” and (b) in a market for all PPEs. The FTC’s alleged markets are not supported

21   by law or the overwhelming evidence.

22          132.    First, the FTC cannot pursue a single-brand market claim, and the FTC effectively

23   conceded that they cannot and did not make this showing in their Reply Brief. Courts “disfavor”

24   single-brand markets for antitrust purposes. See Reilly v. Apple Inc., 578 F. Supp. 3d 1098, 1107

25   (N.D. Cal. 2022). Only in “rare instances” is the relevant market “an aftermarket—where demand

26   for a good is entirely dependent on the prior purchase of a durable good in a foremarket.” Epic

27   Games, Inc. v. Apple, Inc., 67 F.4th 946, 976 (9th Cir. 2023) (rejecting single brand market). The

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 1   FTC was required to show four separate factors, see id. at 981, but did not plead or provide evidence

 2   on any of them, and its alleged market of “PPEs for Encompass Users” fails.

 3          133.    Second, EPPS and Optimal Blue do not compete in the same relevant product

 4   markets. Products only belong in the same product market if they are “reasonably interchangeable,

 5   such that there is cross-elasticity of demand,” Gorlick Dist. Ctrs., LLC v. Car Sound Exhaust Sys.,

 6   Inc., 723 F.3d 1019, 1025 (9th Cir. 2013), i.e., “consumers would respond to a slight increase in

 7   the price of one product by switching to another product,” AD/SAT, Div. of Skylight, Inc. v.

 8   Associated Press, 181 F.3d 216, 227 (2d Cir. 1999). The Supreme Court in Brown Shoe identified

 9   several “practical indicia” to help determine whether products are reasonably interchangeable, such

10   as “the product’s peculiar characteristics and uses,” “distinct customers,” “distinct prices,” and

11   “sensitivity to price changes.” 370 U.S. at 325.

12          134.    The evidence demonstrates that EPPS and Optimal Blue have dramatically different

13   functionalities, fundamentally different customer bases, and charge very different prices.

14          135.    The products are functionally distinct. EPPS is a basic pricing engine,

15

16                                                           See supra ¶32; DX648 27:13–19. Optimal

17   Blue is a highly configurable, feature-rich, standalone PPE that offers vastly more functionality

18   than EPPS,

19

20                                 see also supra at ¶37;                   at 150:10–23 (

21                                                                                                      );

22   PX3159-002 (                                                                                 ). EPPS

23   simply cannot do what Optimal Blue can.

24          136.

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 1                         ). The FTC has conceded that it would take “as much as six to seven years to

 2   build a product truly competitive with Optimal Blue’s pricing tool.” FTC Br. at 29.

 3          137.     Given these significant functional differences, EPPS and Optimal Blue are used by

 4   fundamentally different types of customers. See Brown Shoe Co., 370 U.S. at 325 (“distinct

 5   customers” is a factor in determining accuracy of the proposed market).

 6

 7

 8                                                                                             . DX462

 9   ¶¶144–48.

10                            DX11 120:14–122:10.

11

12          138.     The                price differential between EPPS and Optimal Blue, see supra

13   ¶45, is also sufficient evidence enough to conclude that the two products are not “reasonably

14   interchangeable.” See Geneva Pharms. Tech. Corp. v. Barr Lab’ys Inc., 386 F.3d 485, 496–97 (2d

15   Cir. 2004) (holding that “Coumadin’s substantially higher prices is evidence of a distinct customer

16   group.”).

17                                                                           See, e.g., DX462 ¶¶20(b),

18   153–57.

19                                 ;      175:12–20 (

20                                                             ).

21                                                                                          See DX462

22   ¶¶21(a), 154–57.

23          139.     The FTC did not meet its burden to show that EPPS and Optimal Blue are reasonably

24   interchangeable and thus in the same product market.

25          C. The Merger Will Not Harm Competition in the Alleged PPE Markets
26          140.      Absent a properly defined relevant product market, the FTC cannot make any

27   showing of competitive harm. See Baker Hughes, 908 F.2d at 982. The FTC’s contention that

28   “Defendants’ combined post-Acquisition PPE market share” will purportedly exceed 30% is not

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 1   supported by the evidence. The calculation is based on “shares” in a market that does not exist. The

 2   FTC failed to carry its burden that EPPS and Optimal Blue operate within the same relevant market.

 3   See California, 84 F. Supp. 2d at 1081. This is also true for the alleged single-brand market of

 4   “PPEs for Encompass Users.”

 5          141.    Even if EPPS and Optimal Blue’s PPE were in the same product market, the FTC

 6   cannot show that the combination will substantially lessen competition because, as discussed above,

 7   the two products are highly differentiated and do not constrain each other. The FTC also cannot

 8   show a lessening of competition when the evidence demonstrates active and significant competition

 9   against Optimal Blue’s PPE by third-party competitors.

10          142.    Commercial PPE markets are dynamic, evolving, and highly competitive. The PPE

11   space has seen significant new and ongoing investments, expansion, and entry by new competitors.

12   See, e.g., DX462 ¶¶57(f), 173–87 (

13                                                 ). Within Encompass specifically, Optimal Blue’s PPE

14   faces significant competition from many other PPEs that are integrated into Encompass and into

15   other LOSs, including Polly, Lender Price, and Zillow’s Mortech. The evidence shows that the

16   companies have features that directly compete with Optimal Blue’s PPE,

17                                         . See, e.g., DX462 ¶¶173–87.

18          143.    Polly, for example, is an aggressive                  competitor to Optimal Blue’s

19   PPE, with an approximately         increase in annual recurring revenue from Q4 2021 to Q4 2022.

20   See DX51 41:13–17. Optimal Blue competes with Polly

21         DX12 61:17–21. Other customers of Optimal Blue have described Polly as

22                       see                  at 147:11–148:1,

23                                         . Id.

24          144.

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 2                                                             More new entrants to the commercial PPE

 3   market include Milos, LoanNEX, and LoanPASS, showing that the PPE space is dynamic. Id.

 4   ¶¶184–87.

 5          145.     The evidence does not support the FTC’s contention that ICE, post-merger, could

 6   raise prices on Optimal Blue’s PPE without facing significant competition or customer losses. See,

 7   e.g., Malaney v. UAL Corp., No. 3:10-CV-02858-RS, 2010 WL 3790296, at *6 (N.D. Cal. Sept.

 8   27, 2010), aff’d, 434 F. App’x 620 (9th Cir. 2011); see also Gen. Comm’cns Eng’g, Inc. v. Motorola

 9   Commc’ns & Elecs., Inc., 421 F. Supp. 274, 292 (N.D. Cal. 1976).

10          146.     The FTC also speculates, without evidence, that there will be harm if ICE planned

11   to discontinue EPPS after the transaction. The fact and expert evidence is the opposite: ICE has no

12   plans to discontinue its native EPPS PPE within Encompass. See DX34 177:9–11

13                                                                                               ; DX42

14   153:20–21

15                                                                        . ICE instead is more likely to

16   continue its existing operations and invest additional resources to improve quality and reduce costs

17   for this specific group of customers.

18          147.     ICE’s plans are rational because EPPS is a different type of product with different

19   customers.

20                                           See DX42 80:6–8

21                              ; DX14 127:18–20

22

23                 . ICE is incentivized to continue serving customers who want EPPS, and do not want

24   and will not pay for Optimal Blue, Polly, Lender Price, Mortech, or the other feature-rich PPEs.

25   Otherwise, those customers will move to one of Encompass’s many LOS competitors that offer

26   their own native PPEs at a fraction of the price.

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 1          D. The FTC Did Not Prove Its Vertical Foreclosure Theory

 2          148.    The FTC is required to establish a relevant product market for its vertical

 3   foreclosure theory within with the combined entity’s market power can be assessed. FTC v.

 4   Cardinal Health, Inc., 12 F. Supp. 2d 34, 45 (D.D.C. 1998); see also United States v. Marine

 5   Bancorp., 418 U.S. 602, 618 (1974) (explaining that defining a market is a “necessary predicate to

 6   deciding whether a merger contravenes the Clayton Act”). A vertical merger, in particular, “will

 7   not have an anticompetitive effect” where “substantial market power is absent at any one product

 8   or distribution level.” Auburn News Co. v. Providence Journal Co., 659 F.2d 273, 278 (1st Cir.

 9   1981). The FTC’s vertical foreclosure theory thus fails at the outset because no relevant PPE

10   product market has been properly defined, as explained above.

11          149.    Beyond this threshold failing, the proposed transaction does not present meaningful

12   vertical concerns. The FTC’s speculation that the combined firm would decide to change course

13   and foreclose third-party PPE providers from integrating on Encompass is without merit because it

14   would be against ICE’s interests to limit or degrade third-party users, and inconsistent with how

15   Encompass has always operated.

16          150.    Vertical merger challenges are subject to an exacting standard: the FTC carries a

17   particularly heavy burden because “[v]ertical mergers often generate efficiencies and other

18   procompetitive effects” and the FTC must make a “fact-specific showing that the proposed merger

19   is likely to be anticompetitive.” United States v. AT&T, Inc., 310 F.Supp.3d 161, 192 (D.D.C.

20   2018), aff’d, 916 F.3d 1029 (D.C. Cir. 2019).

21          151.    The FTC offered only speculation that ICE will close Encompass to non-Optimal

22   Blue PPEs or otherwise make it more expensive or difficult for third-party PPEs to integrate on

23   Encompass. There is no evidence of any plan to close Encompass or disadvantage third-party PPEs.

24   Courts have repeatedly concluded that the government cannot meet its burden when it relies on an

25   unsupported assumption about a speculative future change in business strategy. See, e.g., AT&T,

26   310 F. Supp. 3d at 241 n.51; UnitedHealth, 2022 WL 4365867 at *16.

27          152.    The evidence shows the opposite. Encompass has been an open platform since its

28   launch in 2004, allowing third parties to integrate with and add functionality to the platform, and


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 1   ICE publicly recognizes its incentivizes to keep operating it in the same manner. See, e.g., DX16-

 2   009 (“At ICE Mortgage Technology, partnerships are in our DNA. They have been from the start

 3   and continue to this day as we team with organizations up and down the mortgage ladder to help

 4   the industry stay efficient, connected, and innovative.”)

 5          153.    Encompass’s open platform is currently integrated with more than 300 third-party

 6   vendors, many of which provide solutions that compete with ICE. The proposed transaction will

 7   not change that fact: Encompass will continue to maintain an open platform for PPEs, providing its

 8   users with access, as it does now, to many PPEs besides just EPPS and Optimal Blue. Even while

 9   owning EPPS, ICE has added new PPEs to Encompass to provide more choices to its LOS

10   customers. See DX36; DX37; DX38. This is competition-enhancing conduct.

11          154.    Basic economic incentives also contradict the FTC’s theory. ICE’s existing

12   Encompass LOS generates substantially more revenue than what Optimal Blue could generate for

13   ICE post-acquisition, both at the product level and on a per customer basis. Lost revenue from an

14   existing LOS customer that leaves for a different LOS, or a potential new customer that does not

15   join Encompass in the first place, would cost more to ICE than the incremental gain in revenue that

16   the FTC hypothesized. DX45 at 117:23–119:24.

17   III.   The FTC’s Internal Administrative Procedures Are Unconstitutional
18          155.    The Supreme Court’s decision in Axon Enterprises, Inc. v. FTC, 143 S. Ct. 890

19   (2023) confirms this Court’s jurisdiction to adjudicate Defendants’ claims that the FTC’s internal

20   administrative proceedings are unconstitutional.

21          A. The FTC’s Adjudication Process Violates Due Process
22          156.    The FTC’s adjudication process fails to deliver on the “basic requirement” of due

23   process by depriving ICE and Black Knight of a fair proceeding before an impartial tribunal. In re

24   Murchison, 349 U.S. 133, 136 (1955). This applies to any adjudicative body, including

25   administrative tribunals. Gibson v. Berryhill, 411 U.S. 564, 579 n. 17 (1973).

26          157.    The FTC improperly acts as investigator, prosecutor, and judge in its own

27   proceeding. E.g., 15 U.S.C. §46(a), §45(b); 16 C.F.R. §3.11, §3.51(b), §3.52. The FTC investigated

28   the transaction, 16 C.F.R. §§0.16-.14, voted to file the complaint, id. at §3.11(a), and directed its

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 1   prosecution, id. at §§3.1, 3.51. The FTC’s appointed Administrative Law Judge (“ALJ”) will

 2   conduct an administrative trial and make a “recommendation” to the Commission, DX24-003–4;

 3   16 C.F.R. §0.14; but only the Commissioners can enter a decision and can completely set aside the

 4   factual findings and conclusions of the ALJ. 16 C.F.R. §§3.52, 3.54 (empowering Commission to

 5   “exercise all the powers which it could have exercised if it had made the initial decision”).

 6          158.    Thus, the FTC Commissioners, who decided to sue Defendants in the first place, get

 7   to make a de novo ultimate merits decision in their own case. This one-sided system, constrained

 8   only by limited appellate review—where the FTC commands substantial deference to its

 9   “findings,” see 18 U.S.C. §45(c) (factual findings “conclusive” if “supported by evidence”)—does

10   not afford due process. “[A]n unconstitutional potential for bias exists when the same person serves

11   as both accuser and adjudicator in a case.” Williams v. Pennsylvania, 579 U.S. 1, 8 (2016).

12          159.    Unsurprisingly, the FTC fares remarkably well with its home-field advantage before

13   the ALJ. As the Ninth Circuit noted in Axon, “the FTC has not lost a single case in the past quarter-

14   century. Even the 1972 Miami Dolphins would envy that type of record.” Axon Enter., Inc. v. Fed.

15   Trade Comm’n, 986 F.3d 1173, 1187 (9th Cir. 2021), cert. granted in part, 142 S. Ct. 895 (2022),

16   and rev’d and remanded, 143 S. Ct. 890 (2023).

17          160.    Recently, the FTC did suffer a setback after the Ninth Circuit’s opinion in Axon,

18   when an ALJ ruled for the merging parties after a five-week administrative trial. See In the Matter

19   of Illumina, Inc. and Grail, Inc., Docket No. 9401. But the FTC ensured that setback was only

20   temporary. On “appeal,” the FTC Commissioners reversed the ALJ’s decision, disregarded his

21   factual findings, and entered an order with its own factual findings, ratifying the allegations in the

22   FTC’s complaint. The FTC’s undefeated record in its own adjudicatory process remains intact.

23          161.    After that experience in Illumina and while this case has been before this Court, the

24   FTC quietly changed its administrative rules (without notice and comment) to further entrench the

25   one-sided nature of its proceedings. DX24-003–4. The FTC’s ALJ, the only theoretical independent

26   check, will no longer even issue an “initial decision” that can become the decision of the

27   Commission absent an appeal. Rather, the ALJ will now make only a “recommended decision” to

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 1   the Commission, which may reject the recommendation “in whole or in part, and issue its own

 2   decision adopting different findings of fact or conclusions of law.” DX24-003–4.

 3          B. The “Clearance Process” Violates Equal Protection, Due Process, and Article I
 4          162.    The FTC and the Department of Justice share overlapping responsibility for

 5   enforcing federal antitrust laws. But the decision as to which agency will lead the investigation

 6   results in separate tracks with different types of treatment that can be outcome-determinative and

 7   is unrelated to any legitimate government process in violation of the Defendant’s equal protection

 8   and due process rights. Heller v. Doe, 509 U.S. 312, 320 (1993). The Equal Protection Clause of

 9   the Fifth Amendment commands that the government shall not “deny to any person within its

10   jurisdiction the equal protection of the laws.” U.S. Const. amend. V. & XIV, §1; United States v.

11   Windsor, 570 U.S. 744, 774 (2013). The Equal Protection Clause protects against “arbitrary and

12   irrational discrimination” by the Government, Bankers Life & Cas. Co. v. Crenshaw, 486 U.S. 71,

13   83 (1988), and demands that “all persons similarly situated should be treated alike,” Tennessee v.

14   Lane, 541 U.S. 509, 522 (2004). Any difference in treatment “run[s] afoul of the Equal Protection

15   Clause” when there is no “rational relationship between the disparity of treatment and some

16   legitimate governmental purpose.” Montgomery v. Louisiana, 577 U.S. 190, 231 (2016).

17          163.    The decision to assign this case to the FTC, rather than the DOJ, was made as part

18   of an informal, nonpublic, unwritten, black-box “clearance” process that sometimes involves the

19   flip of a coin to determine which agency will pursue an action. DX25-001. That arbitrary

20   assignment decision has no rational basis and is unrelated to any legitimate governmental purpose

21   but it has major consequences.

22          164.    DOJ-led merger challenges occur exclusively in federal court, from complaint

23   through final judgment. They are decided by impartial and independent Article III judges, who

24   apply the Federal Rules of Evidence and Civil Procedure and make de novo factual findings that

25   cannot simply be rejected and replaced by the factual findings of a different, non-judicial body that

26   did not observe any witnesses.

27          165.    By contrast, as described above, parties under FTC review are subject to an

28   administrative process in which the FTC acts as investigator, prosecutor, and judge. The appointed

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 1   ALJ conducts the trial with the FTC’s rules, see 16 C.F.R. § 3.43, instead of the Federal Rules. The

 2   ALJ makes a “recommendation” but a decision is only rendered by the FTC Commissioners, who

 3   can and do reject the ALJ’s findings in favor of their own preferred findings for which they demand

 4   deference when their final decision ultimately reaches Article III appellate review. See 15 U.S.C.

 5   §§ 45(b)-(c), 53(b); 16 C.F.R. §§ 3.42(a), 3.54(b).

 6          166.    There is no rational basis for these stark and often outcome-determinative

 7   differences. The arbitrary assignment of this case to the FTC violated Defendants’ equal protection

 8   and due process rights.

 9          167.    The FTC’s unfettered discretion to decide whether to bring enforcement actions in

10   its administrative process rather than in Article III courts, see 15 U.S.C. §§ 45(b), 53(b), violates

11   Article I. The “power to assign disputes to agency adjudication” is a “legislative power,” and

12   Congress cannot delegate legislative power to an executive agency unless it “provides an

13   ‘intelligible principle’ by which the [agency] can exercise it.” Jarkesy v. SEC, 34 F.4th 446, 461

14   (5th Cir. 2022) cert. granted (June 30, 2023) (U.S. No. 22-859) (quoting Mistretta v. United States,

15   488 U.S. 361, 372 (1989); see also Crowel v. Benson, 285 U.S. 22, 50 (1932) (“[T]he mode of

16   determining” which cases are assigned to administrative tribunals “is completely within

17   congressional control”)). In Jarkesy, the court held that Congress failed to provide an intelligible

18   principle by granting the SEC “absolute discretion to decide whether to bring securities

19   enforcement actions within the agency instead of in an Article III court,” without “indicating how

20   the SEC should make that call in any given case.” Id. at 462. The same is true of the FTC, which

21   Congress gave the same unlimited discretion to decide whether to bring antitrust enforcement cases

22   in administrative proceedings rather than in Article III courts. See 15 U.S.C. §45(b), 53(b); Cf.

23   Axon, 143 S. Ct. at 897 (equating FTC and SEC authority in this respect). The FTC initiated its

24   administrative process in this case (which it now seeks equitable relief in favor of) under an

25   unconstitutional delegation of legislative power.

26          C. The FTC’s Adjudicatory Process Violates Article II
27          168.    The structure of the FTC’s adjudicatory process violates Article II. The FTC’s ALJs

28   and Commissioners exercise executive powers but enjoy for-cause removal protections that

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 1   improperly insulate them from accountability to the President—and ultimately the People. See

 2   Axon, 986 F.3d at 1188 (“Axon raises substantial questions about whether the FTC’s dual-layered

 3   for-cause protection for ALJs violates the President’s removal powers under Article II.”). Article

 4   II grants the President the whole “executive Power” and charges the President with “tak[ing] Care

 5   that the Laws be faithfully executed.” U.S. Const., art. II, §1, 3. The President must be able to

 6   exercise the “power to remove—and thus supervise—those who wield executive power on its

 7   behalf.” Seila Law LLC v. Consumer Fin. Prot. Bureau, 140 S. Ct. 2183, 2191 (2020).

 8          169.    But that is not the case with the FTC Commissioners. They are shielded from at-will

 9   Presidential removal (and from political accountability) because they serve a 7-year term and are

10   removable absent a finding of “inefficiency, neglect of duty, or malfeasance in office.” 15 U.S.C.

11   § 41. These protections rest on the premise that the FTC—“as it existed in 1935”—exercised “no

12   part of the executive.” Seila Law, 140 S. Ct. at 2198. But the modern FTC no longer represents the

13   “nonpartisan” and “‘quasi-legislative’ or ‘quasi-judicial’” body described in Humphrey’s Executor

14   v. United States, 295 U.S. 602 (1935). The FTC today is primarily an enforcement agency

15   composed of commissioners that come from one party. It wields substantial executive power,

16   deciding the actions to bring and prosecuting those actions for injunctive and monetary relief, “a

17   quintessentially executive power.” Seila Law, 140 S. Ct. at 2200; 15 U.S.C. §45(l)-(m). Thus, the

18   traditional limits on restricting the President’s power to remove executive officers govern, and the

19   for-cause protection for FTC Commissioners violates Article II. See Seila Law, 140 S. Ct. at 2192.

20          170.    That constitutional problem is compounded for the FTC’s ALJs, who receive an

21   additional layer of protection from Presidential removal. FTC-appointed ALJs can only be removed

22   for “good cause” by FTC Commissioners. See 5 U.S.C. § 7521(a), (b)(1). This creates a dual layer

23   of protection for these ALJs, because they are removable only in an action brought by the FTC “for

24   good cause,” and the Commissioners, in turn, are only removable by the President for cause. Such

25   dual-layered protection from removal is unconstitutional. See Free Enter. Fund v. PCAOB, 561

26   U.S. 477, 483, 492-93 (2010) (holding unconstitutional similar multi-layer tenure protection).

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 1          D. The FTC Adjudicatory Process Violates Article III and the Seventh Amendment

 2          171.    The FTC’s administrative process also violates constitutional protections by

 3   adjudicating private rights, without trial by jury and Article III safeguards. “The judicial Power of

 4   the United States” is “vested in one supreme Court, and in such inferior courts as the Congress may

 5   from time to time ordain and establish.” U.S. Const. Art. III, § 1. “Congress cannot confer the

 6   Government’s ‘judicial Power’ on entities outside Article III.” Oil States Energy Servs., LLC v.

 7   Greene’s Energy Grp., LLC, 545 U.S. 462, 484 (2011). The FTC’s administrative process will

 8   decide private rights, including the right of parties to engage in private commercial transactions,

 9   and to avoid civil penalties. See Tull v. United States, 481 U. S. 412, 422 (1987) (“A civil penalty

10   was a type of remedy at common law that could only be enforced in courts of law”). The FTC’s

11   ALJ process is constrained only by limited review by a federal court where the FTC commands

12   substantial deference to its “findings,” see 18 U.S.C. §45(c) (findings “conclusive” if “supported

13   by evidence”). This does not allow federal courts to truly render “the ultimate decision” on private

14   rights as required by Article III. See United States v. Raddatz, 447 U.S. 667, 683 (1980).

15          172.    The FTC’s adjudication of private rights without a jury during its internal

16   administrative proceeding, given the circumscribed judicial review on appeal, violates Article III,

17   the Seventh Amendment, and due process.

18          173.    The FTC’s internal administrative adjudication will inflict on Defendants the “here

19   and now injury,” Seila Law, 140 S. Ct. at 2196, of subjection “to an illegitimate proceeding, led by

20   an illegitimate decisionmaker,” Axon, 143 S. Ct. at 903. As the Supreme Court recognized, that

21   injury “is impossible to remedy once the proceeding is over.” Id.

22   IV.    The Equities Weigh Against a Preliminary Injunction

23          174.    Because the FTC has failed to demonstrate the requisite likelihood of ultimate

24   success, there is no need for the Court to reach the equities. Meta, 2023 WL 2346238, at *33. Even

25   assuming that they did, the equities—both public and private—weigh against granting the

26   “extraordinary and drastic remedy” of a preliminary injunction. FTC v. Staples, 190 F. Supp. 3d

27   100, 115 (D.D.C. 2016).

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 1            175.   The Court considers both the public interest and the private parties’ private interests.

 2   Both equitable considerations here disfavor a preliminary injunction, because granting it will kill

 3   the transaction. That makes the relief the FTC seeks particularly dramatic—and the equities

 4   weighing against it significant. See FTC v. Great Lakes Chem. Corp., 528 F. Supp. 84, 99 (N.D.

 5   Ill. 1981) (“the usual rule that a preliminary injunction is an extraordinary and drastic remedy is

 6   particularly true in the acquisition and merger context” because the “‘preliminary’ relief sought by

 7   the FTC would doom this transaction”); Exxon Corp., 636 F.2d at 1343 (similar).

 8            176.   The public equities—which “include improved quality, lower prices, increased

 9   efficiency, [and] realization of economies of scale”—disfavor killing a pro-competitive transaction.

10   Lab. Corp., 2011 WL 3100372, at *22; see also Warner Commc’ns, 742 F.2d at 1165 (public

11   interest in “beneficial economic effects and pro-competitive advantages”). The evidence

12   demonstrates that the combined firm will be able to offer an unprecedented “life of loan” mortgage

13   generation and servicing software that is projected to bring real and tangible cost savings to future

14   and existing borrowers. This is a primarily vertical acquisition that creates new efficiencies that are

15   not achievable under the current status quo, and which will create new opportunities for cost savings

16   for the general public of new homebuyers and existing borrowers.

17            177.   ICE and Black Knight’s private interests also strongly weigh against preliminary

18   injunctive relief. See FTC v. Evans Prods. Co., 775 F.2d 1084, 1089 (9th Cir. 1985) (denying

19   injunction given defendant’s “precarious financial position”); FTC v. Simeon Mgmt. Corp., 532

20   F.2d 708, 717 (9th Cir. 1976 (Kennedy, J.) (similar). This transaction involved significant financial

21   and personnel resources by both companies to achieve, including the efforts involved to create and

22   negotiate the additional Empower divestiture to Constellation. Individuals at both companies have

23   made personal financial and other decisions in reliance on an anticipated closing to occur by that

24   date. DX209 ¶31 [Sprecher]. Preventing the acquisition beyond the November 4, 2023 close date

25   will kill it.

26            178.   The Court concludes that the equities do not favor granting an injunction to stay the

27   transaction.

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 1                                        CONCLUSION

 2        The FTC’s motion for a preliminary injunction is denied.

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 1                                   Local Rule 5-1(h)(3) Attestation

 2           Pursuant to N.D. Cal. Local Rule 5-1(h)(3), the undersigned attests that each of the other

 3   signatories to this document have concurred in the filing of this document.

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     Dated: June 30, 2023                            By: /s/ Kalpana Srinivasan
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                                                          Kalpana Srinivasan
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